          Case 1:21-cr-00088-DLF Document 124 Filed 07/05/24 Page 1 of 5




                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA

    v.                                             Case No. 21-cr-88 (DLF)

 RONALD SANDLIN,

      Defendant.

                GOVERNMENT’S RESPONSE TO COURT’S JUNE 28, 2024
               ORDER AND UNOPPOSED MOTION FOR A CONTINUANCE

         The United States of America, by and through its attorney, the United States Attorney for

the District of Columbia, respectfully submits this response to the Court’s June 28, 2024, Minute

Order issued subsequent to the decision in Fischer v. United States, 603 U.S. ___, 2024 WL

3208034 (June 28, 2024). The Court ordered that the parties shall: (1) propose a schedule for

further proceedings; and (2) contact the Courtroom Deputy to schedule a date for resentencing.

Minute Order, June 28, 2024.

         The government is actively assessing the impact of Fischer on January 6 cases in a variety

of procedural postures. In this case specifically, there are procedural complexities involved with

collateral attack waivers. To that end, the government seeks a 30-day continuance to assess the

impact of appellate and post-conviction waivers on convictions entered pursuant to a plea, as in

this case. The government will also analyze whether it would still be able to meet its burden under

the narrower interpretation of 18 U.S.C. § 1512(c)(2) articulated in Fischer, and whether Fischer

alters the government’s position on the defendant’s sentence.

         The government has conferred with counsel for the defendant, who has indicated that he

does not oppose this request.
            Case 1:21-cr-00088-DLF Document 124 Filed 07/05/24 Page 2 of 5




                                  PROCEDURAL HISTORY

       On September 15, 2021, a federal grand jury returned a superseding indictment charging

Sandlin with Conspiracy to Obstruct an Official Proceeding in violation of 18 U.S.C. § 1512(k),

Obstruction of an Official Proceeding in violation of 18 U.S.C. § 1512(c)(2), Assaulting, Resisting,

or Impeding Certain Officers in violation of 18 U.S.C. § 111(a)(1), Civil Disorder in violation of

18 U.S.C. § 231(a)(3), Entering or Remaining in any Restricted Building or Grounds in violation

of 18 U.S.C. §§ 1752(a)(1), and Disorderly and Disruptive Conduct in a Restricted Building or

Grounds in violation of 18 U.S.C. § 1752(a)(2).

       On September 30, 2022, Sandlin pleaded guilty to Count One, Conspiracy to Obstruct an

Official Proceeding, and Count Four, Assaulting, Resisting, or Impeding Certain Officers—

specifically, Officer B.A. Sentencing was held on December 9, 2022. The Court sentenced

Sandlin to 63 months of incarceration as to both counts, to run concurrently, 36 months of

supervised release, $2,000 in restitution, and a $20,000 fine. Judgment, ECF No. 99.

                                  FACTUAL BACKGROUND

       The defendant, together with his coconspirators, Nathaniel DeGrave and Josiah Colt,

substantially planned for and then participated in the January 6, 2021, attack on the United States

Capitol—a violent attack that forced an interruption of the certification of the 2020 Electoral

College vote count and threatened the peaceful transfer of power after the 2020 presidential

election.

       Sandlin and his co-conspirators brought a car full of weapons, including knives, bear spray,

and Sandlin’s M&P pocket pistol, to Washington, D.C. in advance of the rally on January 6 with

the expectation that there would be violence—specifically, a “boogaloo” or civil war related to the

outcome of the certification of the 2020 presidential election. Gov’t Sentencing Mem., ECF No.
         Case 1:21-cr-00088-DLF Document 124 Filed 07/05/24 Page 3 of 5




92, at 2. Prior to storming the Capitol, Sandlin incited others to “take” and “occupy the Capitol,”

repeating his rallying cry, “freedom is paid for with blood,” no less than four times on January 6.

Statement of Offense (“SOO”), ECF No. 85, at 6. Sandlin recorded himself calling on his viewers

to “take” and “occupy the Capitol . . . One o’clock is when it is all going to go down.” 1 Id.

       After expressing this violent rhetoric, he acted on it. Sandlin directly assaulted at least two

U.S. Capitol Police (“USCP”) officers, including by attempting to remove one officer’s helmet,

and abetted the assaults of four others. To intimidate USCP officers and convince them to leave

their posts, Sandlin ominously warned, prior to assaulting them: “your life is not worth it…you’re

going to die, get out of the way.” SOO at 8.

       Sandlin and his coconspirators knew that the Electoral College certification was taking

place in the Senate Chamber. After enabling the breach of a key entry point to the Capitol, the trio

ascended a set of stairs in search of the “Senate…where they’re meeting.” Gov’t Sentencing Mem.

at 15. The trio eventually made their way to a hallway just outside the Senate Gallery, where only

twenty minutes earlier, the U.S. Senators had been convened to count and certify the Electoral

College vote.

       Sandlin led a violent charge against the USCP officers who were attempting to secure the

doors to the Senate Gallery, striking Officer N.T. in the process. Id. He and his co-conspirators

were then able to breach this door and enter the Senate Gallery. Colt jumped down to the Senate

Floor and sat in the seat occupied moments earlier by the Vice President, while Sandlin began to

weep and proclaimed, “We took it, we did it.” Id. at 16. Notably, DeGrave shouted from the

balcony at Colt and others on the Senate Floor to “take laptops, paperwork, take everything, all




1
 These statements appear to refer to the joint session of Congress at the Capitol to certify the
electoral college results, which began at approximately 1:00 p.m. ET that day.
         Case 1:21-cr-00088-DLF Document 124 Filed 07/05/24 Page 4 of 5




that shit.” SOO at 10. Even after leaving the Senate Chamber, Sandlin continued his pursuit of

members of Congress, asking an unknown individual, “is that where the Senators are at?” See id.

       After the riot, Sandlin told a friend on Facebook, “I’m a true patriot I’ll do my time

proudly.” Gov’t Sentencing Mem. at 24. Months later, after he had been arrested, Sandlin believed

that he had “a divine destiny to fulfill and I/we made history that day and the full implications of

our actions [have] yet to be realized.” Id. at 22-23.

                                            FISCHER

       In Fischer, on June 28, 2024, the Supreme Court held that Section 1512(c) does not cover

“all means of obstructing, influencing, or impeding any official proceeding.” Op. 8. The Court

did not reject, however, the application of § 1512(c)(2) to January 6 prosecutions. Rather, the

Court explained that the government must establish that the defendant impaired the availability or

integrity for use in an official proceeding of records, documents, objects, or other things used in

the proceeding – such as witness testimony or intangible information – or attempted to do so. Id.

at 9, 16. The Supreme Court remanded the case to the D.C. Circuit for further proceedings. Id.

Through those further proceedings, the court of appeals will interpret the scope of the statute,

which may include circumstances like those at issue, where the defendant intended to stop the

certification proceeding and affect the voting and balloting underlying the certification. See Op.

16 (delineating that it would still remain a crime to attempt to impair the integrity of availability

of records, documents, objects, or other things used in the proceeding); id. at 8 (Jackson, J.,

concurring) (“And it might well be that Fischer’s conduct, as alleged here, involved the impairment

(or the attempted impairment) of the availability or integrity of things used during the January 6
         Case 1:21-cr-00088-DLF Document 124 Filed 07/05/24 Page 5 of 5




proceeding”); see also SOO at 9-10 (detailing Sandlin and his coconspirators’ breach and

occupation of the Senate Chamber and search for documents and Senators).

       The government therefore respectfully requests 30 days in which to submit a joint status

report on the parties’ positions on further proceedings, given the remand to the Circuit and the

ongoing litigation in Fischer.



                                            Respectfully submitted,

                                            MATTHEW M. GRAVES
                                            UNITED STATES ATTORNEY


                                    BY:     /s/ Jessica Arco
                                            JESSICA ARCO
                                            Trial Attorney-Detailee
                                            D.C. Bar No. 1035204
                                            601 D St., NW
                                            Washington, D.C. 20530
                                            jessica.arco@usdoj.gov
                                            Telephone: 202-514-3204
